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6                              UNITED STATES DISTRICT COURT
7                                     DISTRICT OF NEVADA
8                                               ***
9     BRANDYN GAYLER,                                   Case No. 2:17-cv-00431-JCM-VCF
10                                         Plaintiff,                  ORDER
11           v.
12    STATE OF NEVADA, et al.,
13                                      Defendants.
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16           Presently before the court is the matter of Gayler v. State of Nevada et al., case

17   number 2:17-cv-00431-JCM-VCF.

18           On February 8, 2017, plaintiff Brandyn Gayler (“Gayler”) brought this action
19   against, inter alia, defendants Nevens, French, Norman, and Garcia. (ECF No. 1).
20   After two screening orders (ECF Nos. 5, 8), the court instructed the clerk of the court
21   to serve Gayler’s first amended complaint on the Office of the Attorney General of the
22   State of Nevada (the “OAG”) so the OAG could accept service on behalf of the
23   defendants it would represent in this matter. (ECF No. 8).
24           After a court ordered mediation session between Gayler and the OAG—on
25   behalf of defendants Cox and Dzurenda—reached no settlement, the OAG entered
26   acceptance of service on behalf of defendants Wilson, Cox, Hessler, Yeats, Williams,
27   Jennifer, Nash, Barth, Howell, Dzurenda, and Estille (the “served defendants”) in July
28   2019.    (ECF Nos. 14, 15).       The record shows no acceptance of service from
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1    defendants Nevens, French, Norman, or Garcia.
2          Almost two years later, after the served defendants filed their motion for
3    summary judgment (ECF No. 31), Gayler moved to extend the time to serve
4    defendants Nevens, French, and Norman. (ECF No. 37). On February 23, 2021, the
5    court denied Gayler’s motion, finding that he failed to show good cause as to his failure
6    to properly serve those defendants. (ECF No. 38). Gayler did not move for an
7    extension of time to serve Garcia.
8          More than four years have passed since Gayler first brought this action against
9    defendants, and more than two years have passed since the OAG accepted service
10   on behalf of the properly served defendants. Yet, despite Gayler’s failure to timely
11   serve them, defendants Nevens, French, Norman, and Garcia remain as parties in
12   this matter.
13         “If a defendant is not served within 90 days after the complaint is filed, the
14   court—on motion or on its own after notice to the plaintiff—must dismiss the action
15   without prejudice against that defendant or order that service be made within a
16   specified time.” FED. R. CIV. P. 4(m).
17         Accordingly, this order serves as notice to Gayler that if he does not show good
18   cause within thirty days of this order as to his failure to serve defendants Nevens,
19   French, Norman, and Garcia, the court will dismiss his claims against those
20   defendants, without prejudice.1 FED. R. CIV. P. 4(m).
21         IT IS SO ORDERED.
22         DATED November 29, 2021.
23                                                   UNITED STATES DISTRICT JUDGE
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           1  Although Gayler has already had an opportunity to show good cause as to his
28   failure to serve defendants Nevens, French, and Norman, the court allows him the
     opportunity to show good cause with knowledge of the risk of a Rule 4(m) dismissal.

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